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UNITED STATES DISTRICT COURT

 

EASTERN DISTRICT O!
Case:2:18-cr-20533
Judge: Roberts, Victoria A.
UNITED STATES OF AMERICA, MJ: Majzoub, Mona K.
Filed: 08-02-2018 At 02:49 PM
Plaintif€, INDI USA VS HINDS (DP)

VIOLATIONS: 21 U.S.C. § 841(a)(1)
18 U.S.C. § 922(g)(1)
18 U.S.C. § 924(c)

 

MICHAEL HINDS,
Defendant. FORFEITURE: 21 U.S.C. § 853
18 U.S.C. § 924(d)
28 U.S.C. § 2461(c)
/
INDICTMENT
THE GRAND JURY CHARGES:
COUNT ONE

21 U.S.C. § 841(a)(1)
Possession with Intent to Distribute a Controlled Substance — Cocaine Base

On or about November 23, 2017, in the Eastern District of Michigan, Southern
Division, the defendant, MICHAEL HINDS, did knowingly and unlawfully
possess with the intent to distribute a mixture and substance containing a

detectable amount of cocaine base (“crack”), a Schedule II controlled substance, in

violation of Title 21, United States Code, Section 841 (a)(1).

 
   

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COUNT TWO

18 U.S.C. § 922(g)(1)
Felon in Possession of a Firearm

On or about November 23, 2017, in the Eastern District of Michigan, Southern
Division, the defendant, MICHAEL HINDS, having previously been convicted of at
least one crime punishable by imprisonment for a term exceeding one year, did
knowingly and unlawfully possess a firearm, that is: one (1) Crown City Arms,
model 1911, .45 caliber pistol, said firearm having previously traveled in interstate
and/or foreign commerce, in violation of Title 18, United States Code, Section
922(g)(1).

COUNT THREE

18 U.S.C. § 924(c)
Possession of a Firearm in Furtherance of a Drug Trafficking Crime

On or about November 23, 2017, in the Eastern District of Michigan, Southern
Division, the defendant MICHAEL H INDS did knowingly and unlawfully possess
a firearm, that is one Crown City Arms, model 1911, .45 caliber pistol, in furtherance
of a drug trafficking crime for which he may be prosecuted in a court of the United
States, that is, the crime of possession with intent to distribute a controlled substance
in Counts One and Two, in violation of Title 18, United States Code, Section

924(c)(1)(A).

 
 

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FORFEITURE ALLEGATIONS

21 U.S.C, § 853, 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c)
Criminal Forfeiture

The above allegations contained in this Information are hereby re-alleged
and incorporated by reference for the purpose of alleging forfeiture pursuant to
Title 18, United States Code, Section 924(d), Title 21, United States Code, Section
853, and Title 28, United States Code, Section 2461 (c).

Upon conviction of the Title 21 offenses set forth above in this Information,
defendant shall forfeit to the United States, pursuant to Title 21 United States
Code, Section 853, any property constituting, or derived from, proceeds obtained,
directly or indirectly, as a result of such violations and any property used, or
intended to be used, in any manner or part, to commit, or to facilitate the
commission of such violations.

Upon conviction of any of the Title 18 offenses set forth above in this
Information, defendant shall forfeit to the United States, pursuant to Title 18,
United States Code, Section 924(d) together with Title 28, United States Code, |
Section 2461(c), any firearm and ammunition involved in or used in the knowing
commission of such offense(s).

If any of the property described above, as a result of any act or omission of the

defendant—

a. cannot be located upon the exercise of due diligence;
b. has been transferred to, sold to, or deposited with a third party;
c. has been placed beyond the jurisdiction of this Court;

 

 
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d. has been substantially diminished in value; or
e. has been commingled with other property that cannot be
divided without difficulty;

 

the United States of America shall be entitled to forfeit other property of defendant
up to the value of the above described forfeitable property, pursuant to Title 21,
United States Code, Section 853(p) and Title 28, United States Code, Section

2461(c).

 
 

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Upon conviction of the Title 21 offenses set forth above in this Information,

the Government will seek a forfeiture money judgment against defendant in an

amount representing the total amount of proceeds obtained as a result of defendant’s

Title 21 offenses.

MATTHEW SCHNEIDER
United States Attorney

s/ Matthew A. Roth

MATTHEW A. ROTH

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Assistant United States Attorney
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s/ Mitra Jafary-Hariri

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Dated: August 2, 2018

THIS IS A TRUE BILL

s/ Grand Jury Foreperson
GRAND JURY FOREPERSON

 

 
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United States District Court Criminal Case Cover Sheet | Case Number
Eastern District of Michigan

 

 

 

NOTE: It is the responsibility of the Assistant U.S. Attorney signing this form to complete It accurately in all respects.

 

Companion Case Inform ation Companion Case Number:

 

 

 

 

 

 

 

This may be a companion case based upon LCrR 57.10 (b)(4)": Judge Assigned:
Ll Yes No AUSA’s Initials: )A(W
Case Title: USAv. Michael Hinds
County where offense occurred: | Wayne
Check One: Felony [_]Misdemeanor [IPetty
___Indictment/____Information --- no prior complaint.
__¥ _Indictment/____Information -- based upon prior complaint [Case number: 17-mj-30649 ]

Indictment/ Information --- based upon LCrR §7.10 (d) [Complete Superseding section below].

Superseding Case Information

Superseding to Case No:

 

Judge:

 

 

[_|Corrects errors; no additional charges or defendants.
[_]Involves, for plea purposes, different charges or adds counts.
[_|Embraces same subject matter but adds the additional defendants or charges below:

Defendant name Charges Prior Complaint (if applicable)

Please take notice that the below listed Assistant ee 4 St al Attorney is the attorney of record for

the above captioned case. hfe
he
August 2, 2018 Mii iy /Y, Wh ce
Date Mitra Jatary- riri

Assistant Unit States Attorney
211 W. Fort Street, Suite 2001
Detroit, Ml 48226-3277
Phone:313-226-9632
Fax: 313-226-2372
E-Mail address: Mitra.jafary-hariri@usdoj.gov
Attorney Bar #: P74460

  

1 Companion cases are matters in which it appears that (1) substantially similar evidence will be offered at trial, or (2) the same
or related parties are present, and the cases arise out of the same transaction or occurrence. Cases may be companion cases

even though one of them may have already been terminated.
5/16

 

 
